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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                            Chapter 11
    In re

    PATRIOT NATIONAL, INC., et al.,1                                        Case No. 18-10189 (KG)

                        Debtors.                                            (Jointly Administered)

                                                                            Re: Docket No. 610

    PATRIOT NATIONAL, INC;
    PATRIOT CARE MANAGEMENT, LLC;
    PATRIOT RISK SERVICES, INC.; and
    PATRIOT UNDERWRITERS, INC.;

                        Debtors                                             Adv. Pro. No. 18-50297 (KG)

    v.                                                                      Re: Docket No. 30

    CAREWORKS MANAGED CARE SERVICES,
    INC., f/k/a MCMC, LLC and YORK RISK
    SERVICES GROUP

                        Defendants.


     AMENDED2 NOTICE OF AGENDA FOR HEARING ON APRIL 24, 2018, AT 11:00
       A.M. (EASTERN TIME), BEFORE THE HONORABLE KEVIN GROSS AT
       THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
          DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 6TH
         FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 198013



1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtors’ federal tax identification
         number, are: Patriot National, Inc. (1376), Patriot Services, LLC (1695); TriGen Insurance Solutions, Inc.
         (2501); Patriot Captive Management, LLC (2341); Patriot Underwriters, Inc. (0045); TriGen Hospitality Group,
         Inc. (6557); Patriot Risk Consultants, LLC (0844); Patriot Audit Services, LLC (5793); Patriot Claim Services,
         Inc. (9147); Patriot Risk Services, Inc. (7189); Corporate Claims Management, Inc. (6760); CWIBenefits, Inc.
         (0204); Forza Lien, LLC (7153); Contego Investigative Services, Inc. (0330); Contego Services Group, LLC
         (0012); Patriot Care Management, LLC (2808); Radar Post-Closing Holding Company, Inc. (2049); Patriot
         Technology Solutions, LLC (6855); and Decision UR, LLC (1826). The Debtors’ headquarters are located at
         401 East Las Olas Boulevard, Suite 1650, Fort Lauderdale, Florida 33301.
2
         Amended items are in bold.
3
         Any party who wishes to attend telephonically is required to make arrangements through CourtCall by
         telephone (866-582-6878) or by facsimile (866-533-2946).



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CONTINUED MATTERS:
1.      Motion of Class Action Plaintiffs’ Motion to Certify Class, Appoint Class
        Representatives and Appoint Class Counsel [Filed: 3/2/18] (Docket No. 279).

        Response Deadline: April 20, 2018, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       Brief in Support of Class Action Plaintiffs’ Motion to Certify Class, Appoint
                 Class Representatives and Appoint Class Counsel [Filed: 3/2/18] (Docket No.
                 279).

        b.       Declaration of Amy Miller in Support of Motion for Class Certification [Filed:
                 3/2/18] (Docket No. 279).

        c.       [Proposed] Order Granting Class Action Plaintiffs’ Motion to Certify Class,
                 Appoint Class Representatives and Appoint Class Counsel [Filed: 3/2/18] (Docket
                 No. 279).

        d.       [Signed] Order Denying Motion to Shorten Notice with Respect to Class Action
                 Plaintiffs’ Motion to Certify Class, Appoint Class Representatives and Appoint
                 Class Counsel [Filed: 3/9/18] (Docket No. 334).

        e.       Notice of Hearing [Filed: 3/15/18] (Docket No. 389).

        f.       [Signed] Order Regarding Scheduling the Motion to Approve Class Certification,
                 Appoint Class Representatives and Appoint Class Counsel [Filed: 4/2/18] (Docket
                 No. 481).

        Status: This matter is continued to a date to be determined which is 30 days after the
        confirmation hearing.

2.      Central Florida Educators Federal Credit Union’s Motion to Compel Payment of Rent
        [Filed: 4/3/18] (Docket No. 492).

        Response Deadline: April 17, 2018 at 4:00 p.m. ET. (extended until May 1, 2018 at 4:00
        p.m.

        Responses Received: None as of the date of this Notice of Agenda.




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        Related Documents:

        a.       [Proposed] Order on Central Florida Educators Federal Credit Union’s Motion to
                 Compel Payment of Rent [Filed: 4/3/18] (Docket No. 492).

        b.       Notice of Motion [Filed: 4/3/18] (Docket No. 492).

        c.       Notice of Withdrawal of Motion [Filed: 4/19/18] (Docket No. 598).

        Status: This matter is continued to the hearing on May 15, 2018, at 2:00 p.m. ET.

3.      Motion for Temporary Restraining Order [Filed: 2/28/18] (Adv. Pro. No. 18-50297,
        Docket No. 2).

        Response Deadline: March 9, 2018 at 12:00 p.m. ET.

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       Complaint for Injunctive Relief [Filed: 2/28/18] (Adv. Pro. No. 18-50297, Docket
                 No. 1).

        b.       Brief in Support of Motion for Temporary Restraining Order and Preliminary
                 Injunction [Filed: 2/28/18] (Adv. Pro. No. 18-50297, Docket No. 3).

        c.       Declaration of James S. Feltman in Support of Motion for Temporary Restraining
                 Order [Filed: 2/28/18] (Adv. Pro. No. 18-50297, Docket No. 4).

        d.       [Signed] Order Granting Motion for Temporary Restraining Order [Filed:
                 2/28/18] (Adv. Pro. No. 18-50297, Docket No. 7).

        e.       Notice of Preliminary Injunction Hearing in Connections with Motion for
                 Temporary Restraining Order [Filed: 3/1/18] (Adv. Pro. No. 18-50297, Docket
                 No. 9).

        f.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Filed:
                 3/2/18] (Adv. Pro. No. 18-50297, Docket No. 10).

        g.       Certification of Counsel Regarding Order Approving Stipulation Extending Order
                 Regarding Debtors’ Motion for Temporary Restraining Order [Filed: 3/9/18]
                 (Adv. Pro. No. 18-50297, Docket No. 15).

        h.       Order Approving Stipulation Extending Order Regarding Debtors’ Motion for
                 Temporary Restraining Order [Filed: 3/9/18] (Adv. Pro. No. 18-50297, Docket
                 No. 16).




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        i.       [Signed] Order Approving Stipulation Extending Order Regarding Debtors’
                 Motion for Temporary Restraining Order [Filed: 4/6/18] (Adv. Pro. No. 18-
                 50297, Docket No. 23).

        Status: This matter is continued to the hearing on May 15, 2018, at 2:00 p.m. ET. The
        parties will submit a stipulation further extending the TRO under certification.

WITHDRAWN MATTER:

4.      Central Florida Educators Federal Credit Union’s Motion to Compel Assumption or
        Rejection of Executory Contract [Filed: 3/6/18] (Docket No. 299).

        Response Deadline: March 27, 2018, at 4:00 p.m. ET (extended until May 1, 2018, at
        4:00 p.m.)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.      [Proposed] Order on Central Florida Educators Federal Credit Union’s Motion to
                Compel Assumption or Rejection of Executory Contract [Filed: 3/6/18] (Docket
                No. 299).

        b.       Notice of Hearing [Filed: 3/9/18] (Docket No. 328).

        Status: This matter has been withdrawn.

UNCONTESTED MATTERS:

5.      Debtors’ Motion for Entry of Orders Authorizing (I) Entry Into a New Orlando, Florida
        Lease, (II) Transfer of Certain Operations to Certain Lake Mary, Florida Leases
        Premises, (III) Rejection of Unexpired Lease, and (IV) Abandonment of Any Personal
        Property That Remains at the Leased Premises [Filed: 4/3/18] (Docket No. 494).

        Response Deadline: April 17, 2018, at 4:00 p.m. ET (extended until April 18, 2018, at
        4:00 p.m. for Central Florida Educators Federal Credit Union)

        Responses Received:

        a.       Reservation of Rights of Central Florida Educators Federal Credit Union with
                 Respect to Debtors’ Motion for Entry of Order Authorizing (I) Rejection of
                 Unexpired Lease, and (II) Abandonment of Any Personal Property That Remains
                 at the Leased Premises [Filed: 4/18/18] (Docket No. 596).

        Related Documents:

        a.       [Proposed] Order Authorizing Debtors’ Entry Into a New Orlando, Florida Lease
                 and Transfer of Certain Operations to the Lake Mary, Florida Premises [Filed:


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                 4/3/18] (Docket No. 494, Exhibit B).

        b.       Motion to Shorten Time for Debtors’ Motion for Authorization to Enter Into a
                 New Orlando, Florida Lease and Shift Certain Operations to the Lake Mary,
                 Florida Leased Premises [Filed: 4/3/18] (Docket No. 495).

                 i.          [Signed] Order Granting Motion to Shorten Time for Debtors’ Motion for
                             Authorization to Enter Into a New Orlando, Florida Lease and Shift
                             Certain Operations to the Lake Mary, Florida Leased Premises [Filed:
                             4/4/18] (Docket No. 500).

        c.       Notice of Hearing Regarding Debtors’ Motion for Entry of Order Authorizing (I)
                 Rejection of Unexpired Lease, and (II) Abandonment of Any Personal Property
                 that Remains at the Leased Premises [Filed: 4/4/18] (Docket No. 511).

        Status: This matter will go forward solely regarding the relief pertaining to the Debtors’
        requests for authority to reject their lease for the premises located at 1000 Primera Blvd.,
        Suites 2130 and 3130, Lake Mary, Florida and to abandon any personal property
        remaining on the leased premises.


CONTESTED MATTERS:
6.      Debtors’ Motion for Interim and Final Orders (I) Authorizing the Continued Use of Cash
        Management System, Bank Accounts and Business Forms, (II) Extending the Debtors’
        Time to Comply With Section 345(b) of the Bankruptcy Code, (III) Approving
        Continuation of Ordinary Course Intercompany Transactions and (IV) Granting Related
        Relief [Filed: 1/30/18] (Docket No. 7).

        Response Deadline: April 17, 2018, at 4:00 p.m. ET

        Responses Received: Informal comments from the UST.

        a.       Receiver of Ullico Casualty Company In Liquidation’s Limited Objection to
                 Debtors’ Motion for Interim and Final Orders (I) Authorizing the Continued Use
                 of Cash Management System, Bank Accounts and Business Forms, (II) Extending
                 the Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code, (III)
                 Approving Continuation of Ordinary Course Intercompany Transactions and (IV)
                 Granting Related Relief [Filed: 2/21/18] (Docket No. 138).

        b.       Omnibus Reservation of Rights of the Official Committee of Unsecured Creditors
                 [Filed: 2/26/18] (Docket No. 164).

        c.       Receiver of Ullico Casualty Company In Liquidation’s Reservation of Rights and
                 Supplemental Objection to Debtors’ Motion for Interim and Final Orders (I)
                 Authorizing the Continued Use of Cash Management System, Bank Accounts and
                 Business Forms, (II) Extending the Debtors’ Time to Comply With Section
                 345(b) of the Bankruptcy Code, (III) Approving Continuation of Ordinary Course


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                 Intercompany Transactions and (IV) Granting Related Relief [Filed: 4/2/18]
                 (Docket No. 483).

        Related Documents:

        a.       [Proposed] Final Order (I) Authorizing the Continued Use of Cash Management
                 System, Bank Accounts and Business Forms, (II) Extending the Debtors’ Time to
                 Comply With Section 345(b) of the Bankruptcy Code, (III) Approving
                 Continuation of Ordinary Course Intercompany Transactions and (IV) Granting
                 Related Relief [Filed: 1/30/18] (Docket No. 7, Exhibit B).

        b.       [Signed] Interim Order (I) Authorizing the Continued Use of Cash Management
                 System, Bank Accounts and Business Forms, (II) Extending the Debtors’ Time to
                 Comply With Section 345(b) of the Bankruptcy Code, (III) Approving
                 Continuation of Ordinary Course Intercompany Transactions and (IV) Granting
                 Related Relief [Filed: 2/1/18] (Docket No. 50).

        c.       Declaration of James S. Feltman, Chief Restructuring Officer of Patriot National,
                 Inc., in Further Support of Certain First Day Motions [Filed: 2/27/18] (Docket
                 No. 201).

        d.       [Signed] Second Interim Order (I) Authorizing the Continued Use of Cash
                 Management System, Bank Accounts and Business Forms, (II) Extending the
                 Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code,
                 (III) Approving Continuation of Ordinary Course Intercompany Transactions and
                 (IV) Granting Related Relief [Filed: 3/8/18] (Docket No. 315).

        e.       [Signed] Third Interim Order (I) Authorizing the Continued Use of Cash
                 Management System, Bank Accounts and Business Forms, (II) Extending the
                 Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code,
                 (III) Approving Continuation of Ordinary Course Intercompany Transactions and
                 (IV) Granting Related Relief [Filed: 4/9/18] (Docket No. 536).

        f.       Notice of Entry of Third Interim Order and Final Hearing Regarding Debtors’
                 Motion for Interim and Final Orders (I) Authorizing the Continued Use of Cash
                 Management System, Bank Accounts and Business Forms, (II) Extending the
                 Debtors’ Time to Comply With Section 345(b) of the Bankruptcy Code,
                 (III) Approving Continuation of Ordinary Course Intercompany Transactions and
                 (IV) Granting Related Relief [Filed: 4/9/18] (Docket No. 542).

        Status: This matter will go forward on final basis. The Debtors will present a final order
        at the hearing.

7.      Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing Debtors to
        Continue Their Prepetition Practices With Respect to Their Pass-Through Bank Account
        and (B) Directing Banks to Honor Related Transfers [Filed: 1/30/18] (Docket No. 12).

        Response Deadline: April 2, 2018, at 4:00 p.m. ET


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        Responses Received:

        a.       Declaration of Leonard D. Lerner, Counsel for IPFS Corporation of California
                 d/b/a IPFS Corporation in Response to Debtors’ Motion Authorizing Debtors to
                 Continue Their Prepetition Practices With Respect to Their Pass-Through Bank
                 Account [Filed: 2/21/18] (Docket No. 134).

        b.       Receiver of Ullico Casualty Company in Liquidation’s Limited Objection to
                 Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing Debtors to
                 Continue Their Prepetition Practices With Respect to Their Pass-Through Bank
                 Account and (B) Directing Banks to Honor Related Transfers [Filed: 2/21/18]
                 (Docket No. 140).

        c.       Omnibus Reservation of Rights of the Official Committee of Unsecured Creditors
                 [Filed: 2/26/18] (Docket No. 164).

        Related Documents:

        a.       [Proposed] Final Order (A) Authorizing Debtors to Continue Their Prepetition
                 Practices With Respect to Their Pass-Through Bank Account and (B) Directing
                 Banks to Honor Related Transfers [Filed: 1/30/18] (Docket No. 12, Exhibit B).

        b.       [Signed] Interim Order (A) Authorizing Debtors to Continue Their Prepetition
                 Practices With Respect to Their Pass-Through Bank Account and (B) Directing
                 Banks to Honor Related Transfers [Filed: 2/1/18] (Docket No. 55).

        c.       Declaration of James S. Feltman, Chief Restructuring Officer of Patriot National,
                 Inc., in Further Support of Certain First Day Motions [Filed: 2/27/18] (Docket
                 No. 201).

        d.       [Signed] Second Interim Order (A) Authorizing Debtors to (I) Continue Their
                 Prepetition Practices with Respect to Their Pass-Through Bank Account and (B)
                 Authorizing Banks to Honor Related Transfers [Filed: 3/8/18] (Docket No. 316).

        e.       [Signed] Third Interim Order (A) Authorizing Debtors to (I) Continue Their
                 Prepetition Practices with Respect to Their Pass-Through Bank Account and (B)
                 Authorizing Banks to Honor Related Transfers [Filed: 4/9/18] (Docket No. 537).

        f.       Notice of Entry of Third Interim Order and Final Hearing Regarding Debtors’
                 Motion for Entry of Interim and Final Orders (A) Authorizing Debtors to
                 Continue Their Prepetition Practices With Respect to Their Pass-Through Bank
                 Account and (B) Directing Banks to Honor Related Transfers [Filed: 4/9/18]
                 (Docket No. 543).

        Status: This matter will go forward on a final basis. The Debtors will present a final
        order at the hearing.



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8.      Debtors’ Second Omnibus Motion for Entry of an Order Authorizing Them to Reject
        Certain Executory Contracts and Unexpired Leases Nunc Pro Tunc to the Rejection Date
        [Filed: 2/7/18] (Docket No. 91).

        Response Deadline: February 21, 2018, at 4:00 p.m. ET (extended until February 26,
        2018 at 10:30 a.m. ET for UST and the Committee)

        Responses Received: Informal comments from the Committee and Cisco Systems
        Capital Corporation.

        a.       MSA Administrators, LLC’s Response to Debtors’ Second Omnibus Motion for
                 Entry of an Order Authorizing Them to Reject Certain Executory Contracts and
                 Unexpired Leases Nunc Pro Tunc to the Rejection Date [Filed: 2/21/18] (Docket
                 No. 130).

        b.       Receiver of Ullico Casualty Company in Liquidation’s Objection to Debtors’
                 Second Omnibus Motion for Entry of an Order Authorizing Them to Reject
                 Certain Executory Contracts and Unexpired Leases Nunc Pro Tunc to the
                 Rejection Date [Filed: 3/6/18] (Docket No. 305).

        Related Documents:
        a.       [Signed] Second Omnibus Order Authorizing the Rejection of Certain Executory
                 Contracts and Unexpired Leases Nunc Pro Tunc to the Rejection Date [Filed:
                 3/8/18] (Docket No. 318).

        Status: This matter will go forward solely as to Cisco Systems Capital Corporation.


9.      Motion of Mbago Kaniki for Order Pursuant to Fed. R. Bankr. P. 2004, Directing
        Cerberus Business Finance, LLC to Produce Documents [Filed: 3/14/18] (Docket No.
        386).

        Response Deadline: April 3, 2018, at 4:00 p.m. ET

        Responses Received:

        a.       Limited Joinder of Aric McIntire and Henry Wasik Motion of Mbago Kaniki for
                 Order Pursuant to Fed. R. Bankr. P. 2004, Directing Cerberus Business Finance,
                 LLC to Produce Documents [Filed: 3/19/18] (Docket No. 399).

        b.       Limited Joinder of Austin Shanfelter, James O’Brien, Michael Purcell, and
                 Jeffrey Rohr in and to the Motion of Mbago Kaniki for Order Pursuant to Fed. R.
                 Bankr. P. 2004, Directing Cerberus Business Finance, LLC to Produce
                 Documents [Filed: 4/3/18] (Docket No. 490).




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        Related Documents:

        a.       [Proposed] Order Pursuant to Fed. R. Bankr. P. 2004, Directing Cerberus
                 Business Finance, LLC to Produce Documents [Filed: 3/14/18] (Docket No. 386,
                 Exhibit A).

        b.       Re-Notice of Motion [Filed: 3/27/18] (Docket No. 444).

        c.       Motion to File Under Seal Pursuant to Bankruptcy Rule 9018 and Local Rule
                 9018-1(b) [Filed: 4/4/18] (Docket No. 513).

                 i.          [Signed] Order Authorizing Mbago Kaniki’s Motion to File Under Seal
                             Pursuant to Bankruptcy Rule 9018 and Local Rule 9018-1(b) [Filed:
                             4/5/18] (Docket No. 514).

        Status: This matter will go forward.


10.     Receiver of Ullico Casualty Company in Liquidation’s Motion for Abstention and Relief
        From Automatic Stay [Filed: 4/12/18] (Docket No. 559).

        Response Deadline: April 20, 2018, at 4:00 p.m. ET

        Responses Received:

        a.       Receiver of Guarantee Insurance Company's Joinder, in Part, and Limited
                 Objection, in Part, to the Motion of the Receiver of Ullico Casualty Company
                 in Liquidation’s Motion for Abstention and Relief from Automatic Stay
                 [Filed: 4/20/18] (Docket No. 642).

        Related Documents:

        a.       [Proposed] Order Granting Receiver of Ullico Casualty Company in Liquidation’s
                 Motion for Abstention and Relief From Automatic Stay [Filed: 4/12/18] (Docket
                 No. 559, Exhibit A).

        b.       Receiver of Ullico Casualty Company in Liquidation’s Motion to Shorten Notice
                 with Respect to the Receiver of Ullico Casualty Company in Liquidation’s
                 Motion for Abstention and Relief From Automatic Stay [Filed: 4/12/18] (Docket
                 No. 560).

                 (i)         [Signed] Order Shortening Notice Regarding Receiver of Ullico Casualty
                             Company in Liquidation’s Motion for Abstention and Relief From
                             Automatic Stay [Filed: 4/13/18] (Docket No. 563).




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        c.       Notice of Hearing Regarding Receiver of Ullico Casualty Company in
                 Liquidation’s Motion for Abstention and Relief From Automatic Stay [Filed:
                 4/13/18] (Docket No. 573).

        Status: This matter will go forward. The Debtors have included their objection to this
        motion within their brief in support of plan confirmation.


CONFIRMATION OF PLAN:
11.     Debtors’ Fourth Amended Joint Plan of Reorganization [Filed: 4/20/18] (Docket No.
        632).

        Response Deadline: April 13, 2018, at 4:00 p.m. ET (extended until April 17, 2018 at
        12:00 p.m. for the Internal Revenue Service (the “IRS”) and April 20, 2018 at 5:00 p.m.
        for StarStone National).

        Responses Received:

        a.       Preliminary Objection of Certain Former Directors and Officer to the Debtors’
                 Second Amended Joint Chapter 11 Plan of Reorganization [Filed: 3/21/18]
                 (Docket No. 416).

        b.       Preliminary Objection to the Debtors’ Second Amended Joint Chapter 11 Plan of
                 Reorganization [Filed: 3/23/18] (Docket No. 429)

        c.       Receiver of Ullico Casualty Company in Liquidation’s Objection to Debtors’
                 Third Amended Joint Chapter 11 Plan of Reorganization [Filed: 4/2/18] (Docket
                 No. 482).

                 i.          Notice of Filing Exhibits to the Receiver of Ullico Casualty Company in
                             Liquidation’s Objection to Debtors’ Third Amended Joint Chapter 11 Plan
                             of Reorganization [Filed: 4/2/18] (Docket No. 485).

        d.       Missouri Department of Revenue Objection to Third Amended Confirmation of
                 Debtors’ Plan of Reorganization [Filed: 4/10/18] (Docket No. 548).

        e.       Objection to Assumption of Executory Contract with Lackawanna Casualty
                 Corporation [Filed: 4/12/18] (Docket No. 557).

        f.       Fifth Third Bank’s Limited Objection to Confirmation of the Debtors’ Third
                 Amended Joint Chapter 11 Plan of Reorganization [Filed: 4/13/18] (Docket No.
                 565).

        g.       Receiver of Guarantee Insurance Company’s: (I) Joinder to the Objection by
                 Receiver of Ullico Casualty Company in Liquidation to the Debtors’ Third
                 Amended Joint Chapter 11 Plan of Reorganization; and (II) Supplemental
                 Objection to Confirmation of the Debtors’ Plan [Filed: 4/13/18] (Docket No.


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                 574).

        h.       Steven M. Mariano’s Limited Objection to Confirmation of Debtors’ Third
                 Amended Joint Chapter 11 Plan of Reorganization [Filed: 4/13/18] (Docket No.
                 575).

        i.       Steven M. Mariano’s Cautionary, Limited Objection to Debtors’ Third Amended
                 Joint Chapter 11 Plan of Reorganization [Filed: 4/13/18] (Docket No. 576).

        j.       Objection of Austin Shanfelter, James O’Brien, Michael Purcell, and Jeffrey Rohr
                 to Debtors’ Third Amended Joint Plan of Reorganization [Filed: 4/16/18] (Docket
                 No. 585).

        k.       Objection By the United States to the Debtors’ Third Amended Joint Chapter 11
                 Plan of Reorganization [Filed: 4/17/18] (Docket No. 586).

        l.       Limited Objection of CVI Investments, Inc., to Confirmation of Debtors’ Third
                 Amended Joint Chapter 11 Plan of Reorganization [Filed: 4/17/18] (Docket No.
                 588).

        m.       United States Trustee’s Objection to Confirmation of Debtors’ Third Amended
                 Joint Chapter 11 Plan of Reorganization [Filed: 4/18/18] (Docket No. 593).

        n.       Joinder and Objection to Confirmation of Plan [Filed: 4/18/18] (Docket No. 597).

        o.       Limited Objection of Certain AIG Member Companies to Debtors’ Third
                 Amended Joint Chapter 11 Plan of Reorganization [Filed: 4/20/18] (Docket No.
                 609).

        p.       Objection of Starstone National Insurance Company to Proposed Cure
                 Amount and Response to Plan of Reorganization [Filed: 4/20/18] (Docket No.
                 622).

        Cure Disputes:

        a.       Cigna’s Objection to Cure Amount Listed On Assumption Schedule in Plan
                 Supplement [Filed: 4/20/18] (Docket No. 640).

        Status: This cure dispute is adjourned until May 15, 2018, at 2:00 p.m. ET

        Confirmation Brief Deadline: April 20, 2018, at 4:00 p.m. ET

        Confirmation Brief:

        a.       Memorandum of Law and Omnibus Reply In Support of Confirmation of the
                 Debtors’ Fourth Amended Joint Chapter 11 Plan of Reorganization [Filed:
                 4/20/18] (Docket No. 633).




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        Voting Declaration:

        a.       Certification of Christina Pullo of Prime Clerk LLC Regarding Solicitation
                 of Votes and Tabulation of Ballots Cast On the Debtors’ Second Amended
                 Joint Chapter 11 Plan of Reorganization [Filed: 4/20/18] (Docket No. 636).

        Declaration in Support of Confirmation:

        a.       Declaration of James S. Feltman in Support of Confirmation of the Debtors’
                 Fourth Amended Joint Chapter 11 Plan of Reorganization [Filed: 4/20/18]
                 (Docket No. 634).

        Plan Supplement:

        a.       Notice of Filing Plan Supplement [Filed: 3/30/18] (Docket No. 473).

        b.       Notice of Filing of Additional Exhibits to the Debtors’ Plan Supplement
                 [Filed: 4/20/18] (Docket No. 641).

        c.       Notice of Filing of Additional Exhibits to the Debtors’ Plan Supplement [re:
                 Amended Assumption Schedule] [Filed: 4/20/18] (Docket No. 643).

        Related Documents:

        a.       Debtors’ Joint Chapter 11 Joint Plan of Reorganization [Filed: 1/30/18] (Docket
                 No. 15).

        b.       Disclosure Statement of Patriot National, Inc., and Its Affiliated Debtors [Filed:
                 1/31/18] (Docket No. 16).

        c.       Amended Disclosure Statement of Patriot National, Inc., and Its Affiliated
                 Debtors [Filed: 3/1/18] (Docket No. 261).

        d.       Notice of Filing of Blackline of Amended Disclosure Statement of Patriot
                 National, Inc., and Its Affiliated Debtors [Filed: 3/1/18] (Docket No. 262).

        e.       [Signed] Order (I) Establishing Bar Dates for Filing Proofs of Claim, (II)
                 Approving Proof of Claim Form, Bar Date Notices, and Mailing and Publication
                 Procedures, (III) Implementing Uniform Procedures Regarding 503(b)(9) Claims,
                 and (IV) Providing Certain Supplemental Relief [Filed: 3/8/18] (Docket No. 317).

        f.       Debtors' Amended Joint Chapter 11 Plan of Reorganization [Filed: 3/9/18]
                 (Docket No. 333).

        g.       Second Amended Disclosure Statement of Patriot National, Inc. and Its Affiliated
                 Debtors [Filed: 3/9/18] (Docket No. 335).

        h.       Notice of Filing of Blacklines of (I) Debtors’ Amended Joint Chapter 11 Plan of
                 Reorganization; and (II) Second Amended Disclosure Statement of Patriot


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                 National, Inc. and Its Affiliated Debtors [Filed: 3/9/18] (Docket No. 337).

        i.       Notice of Deadline of April 30, 2018 at 4:00 p.m. (ET) to File Proofs of Claim for
                 Prepetition Claims and 503(b)(9) Claims [Filed: 3/13/18] (Docket No. 373).

        j.       Debtors' Second Amended Joint Chapter 11 Plan of Reorganization [Filed:
                 3/13/18] (Docket No. 374).

        k.       Third Amended Disclosure Statement of Patriot National, Inc. and Its Affiliated
                 Debtors [Filed: 3/13/18] (Docket No. 376).

        l.       Notice of Filing of Blacklines of (I) Debtors’ Second Amended Joint Chapter 11
                 Plan of Reorganization; and (II) Third Amended Disclosure Statement of Patriot
                 National, Inc. and Its Affiliated Debtors [Filed: 3/13/18] (Docket No. 377).

        m.       [Signed] Order (I) Approving Disclosure Statement and Form and Manner of
                 Notice of Disclosure Statement Hearing, (II) Establishing Solicitation and Voting
                 Procedures, (III) Scheduling Confirmation Hearing, and (IV) Establishing Notice
                 and Objection Procedures for Confirmation of the Proposed Plan Pursuant to
                 Sections 105, 502, 1125, 1126, and 1128 of the Bankruptcy Code, Bankruptcy
                 Rules 2002, 3003, 3017, 3018, 3020 and 9006 and Local Rules 2002-1, 3017-1,
                 and 9006-1 [Filed: 3/14/18] (Docket No. 381).

        n.       [Solicitation Version] Debtors' Second Amended Joint Chapter 11 Plan of
                 Reorganization [Filed: 3/14/18] (Docket No. 382).

        o.       [Solicitation Version] Third Amended Disclosure Statement of Patriot National,
                 Inc. and Its Affiliated Debtors [Filed: 3/14/18] (Docket No. 383).

        p.       Notice of (I) Approval of Disclosure Statement; (II) Hearing on Confirmation of
                 the Plan and Procedures for Objecting to Confirmation of the Plan; and (III)
                 Voting Procedures [Filed: 3/14/18] (Docket No. 384).

        q.       Affidavit of Service of Solicitation Materials, dated March 21, 2018 [Filed:
                 3/21/18] (Docket No. 419).

        r.       Supplement to Notice of (I) Approval of Disclosure Statement; (II) Hearing on
                 Confirmation of the Plan and Procedures for Objecting to Confirmation of the
                 Plan; and (III) Voting Procedures [Filed: 3/22/18] (Docket No. 421).

        s.       Affidavit of Publication of Keenan K. Baldeo Regarding Notice of Deadline of
                 April 30, 2018 at 4:00 p.m. (ET) to File Proofs of Claim for Prepetition Claims
                 and 503(b)(9) Claims and Notice of (I) Approval of Disclosure Statement; (II)
                 Hearing on Confirmation of the Plan and Procedures for Objecting to
                 Confirmation of the Plan; and (III) Voting Procedures [Filed: 3/27/18] (Docket
                 No. 445).




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        t.       Debtors’ Third Amended Joint Plan of Reorganization [Filed: 3/30/18] (Docket
                 No. 471).

        u.       Notice of Filing of Blackline of Debtors’ Third Amended Joint Chapter 11 Plan of
                 Reorganization [Filed: 3/30/18] (Docket No. 472).

        v.       Notice of Filing of Debtors’ Third Amended Joint Chapter 11 Plan of
                 Reorganization and Plan Supplement [Filed: 3/30/18] (Docket No. 474).

        w.       Affidavit of Service of Plan Supplement by Daniel Kounin on behalf of Prime
                 Clerk LLP [Filed: 4/4/18] (Docket No. 508).

        x.       Notice of Filing of Blackline of Debtors’ Fourth Amended Joint Chapter 11
                 Plan of Reorganization [Filed: 4/20/18] (Docket No. 637).

        y.       Notice of Filing of Findings of Fact, Conclusions of Law, and Order
                 Confirming Fourth Amended Joint Chapter 11 Plan of Reorganization
                 [Filed: 4/20/18] (Docket No. 639).

        Status: This matter will go forward. The Debtors have filed their brief in support of
        confirmation, along with a fourth amended plan and related documents. All cure
        disputes have been adjourned until May 15, 2018, at 2:00 p.m. ET (including with respect
        to Zurich North America and Cigna).




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